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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA

                  v.                             Case No.: 1:21-mj-00188-ZMF-1

RYAN SAMSEL

   MOTION TO WITHDRAW MOTION FOR SUBSTITUTION OF COUNSEL

        Comes now, the defendant, RYAN SAMSEL, by and through counsel and moves
this Honorable Court to withdraw and strike from the record his previously filed motion
to substitute Elisabeth K. H. Pasqualini, Esq. with the undersigned counsel, Robert L.
Jenkins, Jr., Esq.

I ASK FOR THIS:


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Counsel for Defendant RYAN SAMSEL

                             CERTIFICATE OF SERVICE

        I hereby certify that I caused a true and accurate copy of the foregoing to be served
on all counsel of record via ECF this April 2, 2021.

___________________
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